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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


  COMMONWEALTH OF
  MASSACHUSETTS, ATTORNEY
  GENERAL DANA NESSEL ON BEHALF
  OF THE PEOPLE OF THE STATE OF
  MICHIGAN, STATE OF ILLINOIS,
  STATE OF ARIZONA, STATE OF
  CALIFORNIA, STATE OF
  CONNECTICUT, STATE OF COLORADO,
  STATE OF DELAWARE, STATE OF
  HAWAI’I, STATE OF MAINE, STATE OF
  MARYLAND, STATE OF MINNESOTA,
  STATE OF NEW JERSEY, STATE OF
  NEW YORK, STATE OF NEVADA,
  STATE OF NEW MEXICO, STATE OF
  NORTH CAROLINA, STATE OF
  OREGON, STATE OF RHODE ISLAND,
  STATE OF VERMONT, STATE OF
                                                     Case No. 1:25-cv-10338
  WASHINGTON, and STATE OF
  WISCONSIN,

         Plaintiffs,

                       v.

  NATIONAL INSTITUTES OF HEALTH;
  MATTHEW MEMOLI, M.D., M.S., in his
  official capacity as Acting Director of the
  National Institutes of Health; U.S.
  DEPARTMENT OF HEALTH AND
  HUMAN SERVICES; and DOROTHY
  FINK, in her official capacity as Acting
  Secretary of the U.S. Department of Health
  and Human Services,

         Defendants.


              SUPPLEMENTAL DECLARATION OF KATHERINE DIRKS

       I, Katherine Dirks, an attorney admitted to practice before this Court, do hereby state the

following under penalty of perjury, pursuant to 28 U.S.C. § 1746:

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       1.      I am Deputy Chief of the Government Bureau in the Office of the Attorney

General for the Commonwealth of Massachusetts, and I appear on behalf of the Commonwealth

of Massachusetts in this action.

       2.      I submit this declaration in further support of Plaintiff States’ Motion for a

Temporary Restraining Order, pursuant to Federal Rule of Civil Procedure 65.

       3.      The facts set forth herein are based upon my personal knowledge or a review of

the files in my possession.

       4.      I have attached to this declaration true and correct copies of the following

documents and factual declarations (continuing the sequence of exhibits filed with the first Dirks

Declaration (Doc No. 6)), as follows:

       5.      Attached hereto as Exhibit 44 is the April 2024 NIH Grants Policy Statement,

available at https://grants.nih.gov/grants/policy/nihgps/nihgps.pdf.

       6.      Attached hereto as Exhibit 45 is the Indirect Cost Policy of the Bill & Melinda

Gates Foundation, available at

https://docs.gatesfoundation.org/documents/indirect_cost_policy.pdf.

       7.      Attached hereto as Exhibit 46 is the Indirect Cost Rate Policy of the Robert Wood

Johnson Foundation, available at https://www.rwjf.org/content/granteeresources/legal-and-

policy/Indirect_Cost_Rate.html.

       8.      Attached hereto as Exhibit 47 is the Mission and History of the Smith Richardson

Foundation, available at https://www.srf.org/our-mission-history/.

       9.      Attached hereto as Exhibit 48 is the Carnegie Corporation of New York’s

Approach to grantmaking, available at https://www.carnegie.org/programs/.




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         10.   Attached hereto as Exhibit 49 is a Notice titled “Fostering Equitable Grantmaking

through Indirect Cost Coverage” of the David and Lucile Packard Foundation, available at

https://www.packard.org/insights/perspective/fostering-equitable-grantmaking-through-indirect-

cost-coverage/.

         11.   Attached hereto as Exhibit 50 is the declaration of Vassilis L. Syrmos, Vice

President for Research and Innovation at the University of Hawai’i.

         12.   Attached hereto as Exhibit 51 is the declaration of Dr. Penny Gordon-Larsen,

Vice Chancellor for Research at the University of North Carolina at Chapel Hill.

         13.   Attached hereto as Exhibit 52 is the declaration of Sally Morton, Executive Vice

President of the Arizona State University Knowledge Enterprise.

         14.   Attached hereto as Exhibit 53 is the declaration of Jason Wilder, Vice President

for Research at Northern Arizona University.

         15.   Attached hereto as Exhibit 54 is the declaration of Tomas Diaz de la Rubia,

Senior Vice President for Research and Innovation at the University of Arizona.



Dated:         February 18, 2025
               Boston, MA


                                             /s/ Katherine Dirks
                                             Katherine Dirks
                                             Deputy Chief, Government Bureau
                                             Office of the Attorney General, Massachusetts




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                                CERTIFICATE OF SERVICE

         Counsel for Plaintiffs in the above captioned case certify that they have submitted the
foregoing document with the clerk of court for the District of Massachusetts, using the electronic
case filing system of the Court. Counsel for Plaintiffs hereby certify that they have certified all
parties electronically or by another manner authorized by Fed. R. Civ. P. 5(b)(2).

                                                     /s/ Katherine B. Dirks
                                                     Katherine B. Dirks, BBO# 673674

Dated: February 18, 2025




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